                  Case 22-650, Document 92,
             Case 1:21-cv-01009-DNH-ML      05/05/2023,
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                              UNITED STATES COURT OF APPEALS
                                         FOR THE
                                      SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      5th day of May, two thousand twenty-three.

      Before:     William J. Nardini,
                         Circuit Judge.
      ________________________________

       Dr. A., Nurse A., Dr. C., Nurse D., Dr. F., Dr.
       G., Therapist I., Dr. J., Nurse J., Dr. M., Nurse   ORDER
       N., Dr. O., Dr. P., Dr. S., Nurse S., Physician
       Liaison X.,                                         Docket No. 22-650

                      Plaintiffs- Appellants,

       v.

       Kathy Hochul, Governor of the State of New
       York, in her official capacity, Mary T.
       Bassett, M.D., M.P.H., Commissioner of the
       New York State Department of Health, in her
       official capacity, Letitia James, Attorney
       General of the State of New York, in her
       official capacity,

                 Defendants- Appellees.
      ________________________________

             The parties in the above-referenced case have filed a stipulation withdrawing this appeal
      without prejudice to reinstatement by September 8, 2023 pursuant to Local Rule 42.1.

                The stipulation is hereby “So-ordered.”

                                                            For the Court:

                                                            Catherine O’Hagan Wolfe,
                                                            Clerk of Court




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